 I
     .l[L  CO'J"J'].Ë G¡\RRETT (#I2520;
.i    N4i\RCA T.ANNDiì (#i 35i6)
      COTTLI] GA]ì]ÌET''T I.A!V. PLLC
      I 107 24ú St.



     (flt)   Ii   6! 7-I 73(ì T'eJe¡rbone
     i8o l    j 027- [ 723 ]-acsimile
     A t;l.ornq s.fìn   PÌ,ai:tffi'




                               Ix rne THlnrJuDrcIAL Disrnicr CotrRT
                                         SAI,T I-AriE QOUNTTY, STATE oË UTAH

                                                                 )
     \,IICTLAELA. COTTLE.                                        ì

                                                                 )         FIRST AMENDBD CO N,1"LAI\I'T
                                Plairitifl                       \             FOR DA\4AGES AND
                                                                 l           JURY TRTAL DEMANDED

     cRolAT\           EQUIPIVIENTT                              )
     CORPORATION, CROI4TN LTFT                                   )
     TRUCKS, andDOES I through 50                                    Civil Action No. I I0901 376
                                                                 )

                                 Ðefendants                      )   Judge A-nthony B Qrinn
                                                                 )


                   Plahtifli Michael A.      CottJe, through counsel, files his first amended Compla"int against

     Defendants, Crou'n Equipment Corporation, Çrown Lift Trucks, and Does                    I through 50 and

     alleges fbr causes of actions as fbllou's:

                                                             PARTIES

             L     Plaintifl MICHAELA. COTTLE (hereinafter "DRI\/ER"),                is an adult male, n'arehouse

     ft¡rklift driver,     aucl citizen of the State of Utah.

     First Amended Cornplaint for Damages and .Iwy Trial Demanded
     Cottle v. Crown Equþmerú CorporaÍio4 et al. '
     Page I of15
        2.   Defr:pclzurts,   CRO\\Ti EQTIIPN4BNT INC.                  (he.re:irraftc:'   "CIìO\AN"),        is arr Ohict


Cor¡roratigrr u,itlr its ¡:rinci¡ral     plzrce of'busines¡i at. 44' $outl'¡      \\¡ashingion $[-, Nevl Bretnen. Ohio

4.1869. CROI\IN           LIÍ-I   ma¡'be se¡r'ed ,,r.itlr lrroce:ss b1'sen'irrg its reg$sLerecì agellL C'I'Oorporation

S),ster¡, I3G Ëast So¡th T'e.m¡rlc, Suitc          2J   00, SJ.C, UT, 841         1   l.   CRC)\^Ì\-   Ls   registclcrcl tcr   clc:



ìtusinc:ss r.r,ithin tlre Srate of Utah ancl was at aìl ¡.lertinctrt tin:es clcring brr'siness in the Start' ol'LJtah

ancl coutinues to clo businesc i¡r thc, Sate of Ui"ah,                ÇROl^\ is the desiglrer,              testcr? marlufactuler.


¿ulcì   disrrìbutor. olhe¿rr\r-ch-rty elecrric lift truclss, i:rciuding the Pallet jzrck'¡r'hose s¡lecificzLtions \\¡ere

l) h4ahe: Cro\,r,n,      2) Ycar: 2008, 3)h4odel: PE 4-500-60, 4)               SN/\¡[N: 64262031              (the "Sub.icct Pallet


Ju"k'). A palletjach          ìs a specific type of   forhlift ctesigne.d to lift ancì move pallets.             TTre Subject P¿rllet"


Jack reachecl the user, DR[\¡ER" in a suhsuantia.lll. similar condition
                                                                        in which it                            rvas   i¡   r,r,heu


originally rnanufactured, distributed, and solcl. At the time the Subject ParlletJack rtas solcl c¡r

placerl on the mat'ket, it',vas in an Lltlreâsollabl;' dangerous to users ærd specifically to DRI\¡ÐR'

    3.       Ðefenda¡t, CROI,VN IIFT TRUCKS (hereinafter "QROl{Ot-                               LFT'),        is a ÐBA r+'itlr its


príncipal place of busincss located at44              S.   Washington St., Nert'Breuren, OH 4'5869' CROI\TJ

LIFT may be served            r,r'ith process lty serving its registered agent,            CT Corporation System,               136 East


South Temple, Suite 2i00, SLC, UT, B41i                    l     CROI D{ LIFI'is           registered ancl qualifie.d to clo

business      within tlre State. of Utah    aud'i,r,as at all pertinent times doing busirress iu the State of Utah


and continues to do busi¡ess irr the State of              Utah. CROI\N LÍFT                 is engaged       in the business of

selling, irrstalling, mainta"ining, and re¡:airiug              hearl.d¡ty electric lift trucks, includirrg            the Subject


PalletJack as a DB¡\ of CRO\\¡lrI, The Subject PalletJack reachecl the user, DRIVER, in a

substantialll, similar oondition in n'hich it           vu-as   ir: vyhen originaliy manufactured, distributed, and

First Amçnded Complaint for Damages and Jury Trial Demanded
Cou,le t. Crou,n Equipment Corporalion, eI ø1.
Pase 2 of i5
 ,solcl.   At the tirne tbe SuÌ:jcc.r Pailctjack   u'¿r.s   sold   cl:-   ¡:laccrl ot¡ ti:e tnarliet. it r,r'as iu ¿rn urrreasonaìrll

 darrgerous [o userri ancì sl.re.cificarll¡' tr: DRT\''ËR.

      +,    'llhc tlue narll(ìs ol ca¡lacitíes. vvhc:therirrcliviclual, corporate,            asso<:iate ,   ol otl:eru,isc:'of

 Dr:ferrcl¿rnts   DOES I througìr 50 ¿rre unluror,r'n to PlaindflÈ, lt'ho drercfore sue s¡.tclt l)efendants tx

such lìctiri<¡us r¡arllcs. a¡rcl vr,ill a.nr<:¡rcl tJris r:clrn¡'llaiut to sllow theit lluc'¡ratncs ancì capacitiesr','l:elt

 ascertained or clererrninc:ct. Ptaintilì'is inl'ornrecl ærcl l¡e]ievcs and thcleorr allcges tilrat each of the

Defenclaugs clesigrrated as a ÐOÐ is legalll'responsiÌ.rle iu sonre ¡nallner l'or the e:vents aud

happenings herein refe.rrecl to, and thereb,v proximately causecl iqjuries alcl darnages to the

Plaintlflì    as allcgccl hereirr-


     5.     At all linres hereiu mentioned, Defenclants, and each of thern, werc and no\{'are

Co4rorations, Entities, inclividuaJs. or agenci.es organized and existing ulrde r and by virtue of the

Iav,s ol'dre Srate of Utah or St¿te of Ohio, ar-rd qrralifiecl to do and doir:g business in the State of

Lltah, Count¡'of       SaJt Lalce.


     6.     Defendants and each of the,m at all times b.ercin m<:ntioned knevr.                    zurcì   intended tlr¿t the

fbrklÌft truck designed, marrufacture.d, assembled, ancl sold u'oulcl be purchased ancl usccl by rhe

purchaser ol user wìthout ins¡>ection for defects therein or iir any of its compone.nt parts'

     7.    As a proxim¿rte result of the c'ìefcct as hercin alleged,               DRñ¡ER sustaìired serious and

llctmarer'rt injuries to his health, streu,gth, and ac.tìvi\,, severe shock to his nervous systern and

person, all of rvhích injuries have caused and corrtiirue to cause DRIVER great mental, physÍcal,

and nervous pailr and sufferiug. lfhe DRIVER is informed and believes and bascd upon such

infbrmation and belief alleges that his said irr.juries will result in some permânent dísabilif¡, ¡e
First Anrended Complaint for Damages and Jury Trial Demanded
Cottle v. Crov,vt Equipnent Corporation, et al,
Page 3 of15
 DItI\iEIt.    all to lìin g*nnerzrl clameEes,




                                   Íi]"ATD\,TENT O].               Ü]'ION,{ND \IENUE

     B. DlìI\,lliR      is   ¿L   citizerr ofUrzrh, an inclividual, CI{O\AIN is a citizeu ol'Ohio, â cìorporat¡orl

 incorpolat.ecJ urrder the larvs of'Olúo rvith its plincipal place.of'busir:ess in           Ohio, CROl'\¡h-    Lç




registerecl ro clo Ìrusiness in         Utah- CI{O\A¡N LIFT is ¿r citizerr of Ohio,     a   I)BA of CRO\{¡N    r,r'itl'r   its

princi¡raì   1>Iacc   of business i:r Utah.

    9.   CRO1AN         ha-s      submittecl to 1:ersonal jurisdictior: in Utah purruart to U,C.A, $iBB-3-205              L:1'



crc:aúrg sufficient con!âcts in the statc. $¡:ecifically, CROI\ßT is subject to juriscliction in Utah

under $79B-3-205(1) r.v'hercin CRQW\i trar¡sacted lltsirress r.r'ithin the state of Ulta-h b1'sellirrg and

distr.ibuting its p.roclucts to Utah residents; under $78B-3-205(3) wbereir CRO\ Õ{ caused                    itìirry

wjthin tùe state b)'breach of rvarranÇ ancl, under $78B-3-205(4) u.herein CRO\Arr\* registered                       as a


busiuess cloing business           in thc State of Utah and establishecl CRO\AAI LIFT          as a   DBÂ of their

corporatiou r¡'hose physical location js in Utah.

    10. CROIA¡N         LIFf        has submitted to ¡rersonaljurisdictìorr   iilUtah   pursuant to $7BB-3-205 by

creating suflicient coutacts in the state. Specifically, CRO\AÕ{              LIFT   is subject to jurisdiction in


Utah under $788-3-205(1) whereiu CROl^,rN LIFT transacted business within the state of Utali                               l-ry


selling and clistributing its products to Utah residents; under $7BE-3-205(3) wherein CRO\4IN                        LIFT

caused   iqjury within the state by breach of warlant; ald, under $788-3-205(4) wherein CRO1ÀAI

IJFT registered       as a business cÌoirrg business in the State of     Utah and has its physical location is i¡

the state of Utah.

.First Amended Complaint for Damages and Ju¡y Trial Þem¿mded
 Cotll.e v. Ct'ov,t¡ Equipnzent Corporatiori" el al.
Page4ofl5
       I   l,   \,'enut, is appro¡>rìate ilr this Ccrurt, as DR|\/ER'Ê càuse of action occ;ur¡cd or accmed ir: Salt

Lalie Cc¡unt¡-, Utah.



                                                ï ACI']'U¡\L ÀLLB (;ATl ONS

       l!,      On. or about,Janua4. 18, 1009. DRI\/ÈR               r.r'¿ur   empl()vccl at a u'¿trelrouse ltnor,vn as

Àlberrsons ir: Sah Lalie County, L-ttah. Albertsons luas the o\{me¡'of a 2008 Crorvr: pallet jack

IVIocìel tv¡re PE 4500-60, Serial No, 64262031 or Subject                        PalletJack. OnJanuary IB, 2009,

DRIVER            r+'as   o¡rerating Subiect PalletJack on Albertsons'premisas in Salt Lahe County, Utah.

The Subjecr PalletJach operatecl by DRI\/ER u,as pla<:ecl                         ir-r   the chain of commerce by CRO\\iN

IIFT,        and marketed as a sale and stable pallet jach ftrr use in businesses of this state.

      13. OnJanuary IB, ?ú08,                DRIVER   sufle¡'ecl sevel'e and, pernranent injulies when the Subject

PalletJack opcratecl by him became unconÞollable ancl crashecl into                             a steel suPPort    beam' At the

tirne of the arciden! the Suìrject PalletJack ivas beír:g operated in a forcseeable and irrtended

man¡rer but r¡¡ent out of human control, The loss of control and the crash of the Subject PalletJack

were caused by defects in the Sulrject Palle.tJack             a.s   herei:rafter set        forth. Specificalll', the Subject

PalletJack was defective ancl urrreasonabli' dange::ous on                       a.ce.ount of the dangerous       prapetsity of the

palietjack to become out of control due to íts inhererrt design. The Subject PalletJack was supplied

b1,   CRO\Aâ{ to CIìOIA¡N LIFT with               these. clefe-cts, sold        by QRO\,\N       IJII|   r,r'ith t}rese defects, a.nd


sen'iced or: repaired by           CRO\{N LIFT r,"ith      th.e'se   defects. At all times relative to this action,

DRI\{ER           q,as fi'ee   from fault.



First Arncnded Conrplaint for Damages and Jury Trial Demanded
Cottle v. Cro-¡vn Er¡uíptnenl Coryorøtion, el al.
Page 5 of 15
                                           PIRI]T'qåUSE OF ACTION
                                     Srmcr I¡eBILtt\' - PRouucls           LIABILITY

    14. The allegations of Paragraphs          I   through l3 are incorpoiated herein as if reproclucecl íu full.

    I5. CROl,\.Dtr is the rnanufàcturer of products and specifically the Sulrjecl PalletJack, u'hich                is


unrea-sonably and claugerously rlef'ectir.e in its design, rnanufacfiire. and as rnadietecl. CRC)\{T{ n'as

a¡d is in   tJre business of designing, manufacturing, ancì sup¡rlyirrg        forklifu to the <;onsurning ¡:ublic'

Tirc defective nature of the Sulr.ject PalletJack          ca.usecl the ínjuries suffered by   DRñ{BR in the

subject incident.

    16.    Additionalþ   arrcl   specificalll', pursuant to Utati Cocle A¡n. 78ts-6-70I through T0T' the

Subject PalletJack was defcctíve at the tinre          it left the corrffol of CltO\tN a:id CROI'VN LIFT,           as


follows;

                  a.       The Sul¡ject PalletJack was defective because it failed to conlain adequate

              w.arr:ings a:rcl/or instrucrions.      At   the tinre the Subject PalJetJack left the co¡rilol   of

              CRO\M\ and CRO\{DI LIFT, Defeuclants kqew or should have knovr.rr about the

              danger associated u'ith the Subject PaJletJack that caused the i4jruies suffered by

              DRIVER, injuries for uùich damages are sought by this action- Moreover, the defective

            . condition of the Subject PalletJack was not           open and obvious, and ordínary

              users/consumers of the Subject PalletJack, such as DRr\IER, did not realize or

              ap¡rreciate tbe dangerous conditions and defects associated with the Subject PalleiJacl*.

                  b.       The Subject PalletJack was defèctive because it was designed in             a clefective


              manner, At the timc rhe Subject PalletJack left the control of CROIAD{ and CRQWN


Filst Amended.Complaint for Damages and Jury Trial Demanded
Cotlle v. Crov,n Equípmenl CorVorati,on, eI aL
Page 6 of 15
               LIFT, Dele¡rclants      knevv   ol should harre knowrr    ¿rbc¡ut the danger associatecl    with the

               Surlrject Pallet.]ack as a ¡'esuit of the clefective cie.sign of the ¡-rallet.iack thaL causecl the.

               iqjuries suf'ferecl   bi'DRl\tER for    rn4:ich clan:ages zrre sought by this actin¡r.      At the time

               of tlre cmsh, the .fìLrlrject PalletJack failed to perfbrm as cx¡:ccted       clurc   to the delèctivc

               design of the Subject PalletJacll. At all tinres, leasibJe desigrr alternatives existecl which,

               to a reasonable degree of ¡rrobabílity, vvould hztve pr-evented the loss of colrtrol, the

               pro¡rensit-v f<rr ir{ur-ies like those tJrat   DRI\/ER srrfferecl, ancl/or the c¡ash of the lork]ift

               at the tirne of DRI\¡ER's ínju¡iss, and the re.sultirrg harm to         DRÏVER.         Such fe¿sible

               desigrr alternatives u,ould rrot have irn¡lairecl the      utiliry, usefulness, practicalit], or

               desirability of the product to users or consurners such as DRÑIER'

                   c.       The Subject PalletJach v'as defective beeause itbreachecl an express

               n'aranty and faih.d to confonn to        express factual re¡rresentatious ul)on which          DR|VER

              justífiably relied in electing to use the product.

                   d.       The defective condition of the Subject PalletJack rendered the Subject Pallet

              Jack urrreasonalrll, dangerous to DRIVER, and the defèctive and unreasonably

               clarrgerous condition of the Subject PatletJack proximaÈely caused the damages                   for   '



               r+'hich recovety is sought by reason of this actio¡r.

    I   7. At all times, the Suþect PalletJack        v,,as unreasonably dangerous,       in that.the danger in fact

associateci u,ith the use of the Sulrject PalletJack by          DRIVER outweighecl        rJ:e   utility or usefulness of

the Subject PalletJack to DRIVER aud others similarly situated.

    18. .At all lirnes, the Subject Pa-lletJack l^ras unreasonably clalgerous, in that the Subject Pallet

FirstAmended Cornplaint for Damages and Jury Trial Demanded
Cot'tle v. Ct"otyn Equìpment Corporation, el al.
Page 7   of   15
                                                                                  te an extenl be¡'o¡¿ t¡'tut
,]acìr u,as ctarrgelous Lo use.rs such as DRI\¡ER. and oûrers simiiarl¡,situatecl

u'hich r.r'oulcl     br: contem¡rlatecl b;' user's ¿rncl colrsumers) s¿rc.h as   DRI\DR, at the tirne the   'Sufrject

Pailet.Jacli   \'\ras   llurchased.

      19. As   ¿r   yesult of rhe defèctive nature ancl u¡re.asonabll, ja¡g¿roru conc{itic¡n of the Subiect

PalletJarùr,    DRI/ER        sustaine-d injuries and d;rrnzrges,   lor u,hich recover)' is sought bi'this ac[ion.

      20. Pu¡:suant to Ur.all Code Ar:n. $7BB-B-201 ancl comnrou [aw, Dzu\4ER demands an award                          of

purritive damages against Defendauts CRO\AIN, CROV\N LIFT, and DOÐS l-50. At all tinres, in

thc course of designing, manufäcturing, marketing, testing, distributing, arrd selling of the Subject

PalletJack, and other similar j)roducts, Defendants actecl v'ith actual rnalice, ancl wíth gross

rregligence evidencing a willfirl, $'antou, and reckless disregarct for the safcfy of DRniÐR and

others. At all times, Defenclants had actual knowlcdge of the defective and unreasorrably dangerous

condition of the Sub.ject PalletJack and other similar forklifts. At all times, Defendants hacl acual

Icnov'ledge of the q'pe and extent olharm r,r.hich could l¡e and was caused by Defendants' placing                      of

the li¡orvn defechve Sulrject PaJlctJack and simila¡ forklifs in the stream of commerce.

Nctrvithstanding such knou'ledge, and for purposes of increasing ¡rrofit at lhe expense of the safety,

health, and wellbeing of DRI\IER             anc{ others   similarþ situated, Defendants errgaged in a pattern

antì practice of marke.tirrg and selling the defective Suþject PalletJacks, Defendanu engaged in such

a   pattem arrd practice ofwrongful, malicious, and grossly negligent conduct while conceaiíng and

attempting to couceal ûnm DRIVBR and others similarly situated the de.lèctive naturc and

unreasonably dangerous condition of the Suhject Pallet.]ack and other similar forklifts. DeferrdarrLs'

wrongful conduct was pervasive and contiuued over a substantial duration of time. Such conduct
Fû'st Amended Complaint for Damages and Jury Trial Dema:rded
Cottle v. Crev,n Equipment Corporatìon, et al.
Page B of 15
justífies a¡ a'rlarcl oJi¡runitive dama.çs agailrst Defenclants iu an a¡nonrtt calculated      t<l   punislr   .sr"rclr



conducl, and to deter the repetition of such concluct bv l).fenclants ancl       c¡tlrers




                                     SECOND CAUSE OF A.CTION
                                   Npcl,tcn¡lcg AND Gnots NncLtceNcr

    21. The alle¡çatior:s of paragraph    I   througlr 20   are inco4romtecl herein as   if re¡rroclucecl in full.

     22.Îhc üluries and clamages      sufferecì   b}'DRIVBR rverc proximately      causecl   b)'th.    negligenc:e


of Deferrclants. At all tirncs, Defendants owed a uon-delegable ctutv to DRI\4ÐR and others

similarly sitgated to exercise reasonable care in the desigll, nr¿lufacture, assembling, supplyiug,

marketir-rg, irrstructiug, provicling r¡,arrrings for, sale, service, installaúon ¿urd user c.omrnurication

wìtJr respect to the Sulrject PalletJack, Said duties rvere breached b,'r'Defendants. ds a result of said

breach of duties by Defendants, DRJVEI- sustained iqjuries for which recovery is sought by reasorr

of this action,

    23. Specifically, but u.ithout limitarion, the acts of negligeuce attríbutable to Def'endatlts irrclude,

lrut are not limited to, the following:

                  a.      Improper design of the Subject Palle.tJack from a handling ærd stability

            staudpoint.

                  b.      Improper design of the braking and ernergency handlilg systems of the

            Subject PalletJaclc,

                  c.      Impro¡rer design and manufacture of the Subject PalletJack            so as to create an


            unre.asonal:le ancl clangerous propensity to experience a loss of control andlor failure to


First Arnended Complaintfor Damages ard Jury Trial Dernanded
Cottle v. Crown Equipntent Cotporatíon, el al.
Page 9 of l5
                    brnlte uncler normal a:rcl fbreseeable circumstauces'

                         d.        Failing to provide reasonable and adequate. lvarnings to the suppliers and

                   users      olthe Sulrject PalletJack   abc¡ut the palletjack's pro¡reusity fo¡ loss of control,

                   impro¡rer braking, and/or irraclequate e.mergeû(4, controls r.,'hen used         zr.s   reasonably
I

                   expected.

                         e,        fmproper desigrr aucl marrufacture of the Subject PalletJack n'ith itradequate
j

I
                   h   andling zurcl btaki ng d evices ar:cl inaclequate emergency controls'

                    . t            Improper marketing of the Subject PalletJack ín a manner that was

                   misleading to consumers generally, and DRIVÐR in particuiar) as to the safety, stability,

                   rnaneuvetability, and handlir:g of the palletjack,

                         g:        Failing.io properly arrd adequately test, inspect, and design tlre Sulrject Pallet

                   Jacli so that it was stable, safe, free from defects, free from ullrrecessary propensitl. for loss

                   of control and/or improper brakírrg and equipped u'ith au adequate braking and

                   emergeircy conhol system.

                         h.        Designing Subject PalletJack which rvas patterned after pallet jacls that

                   CRO\^ô{ krreu'had a clemonstrated history ofinvolvement in alr unreasonable number

                   olilcidents of     loss of corrtrol and improper braking,    with full knowledge of the dangers

                   associated rt'ith the use of a   desþ incorporating such defects.

                         i,        Proceeding with the sale and marketing of the Subject PalletJack r,r'ith full

                   knovvledge of the Sutrject Pallet.|ack's dangerous propensity to lose contÌol and./or to

                   ha¡rdle impr-operly in an ernergency situation, r,r'ith ltnor'r,ledge that    as a   result of such

    First Amended Cornplaint for Damages and Jury Trial Demanded
    C<;tfle v. Crown Equípmont Corporatíon, et al.
    Page 10   of   15
           conti¡ued sâle and markeúng,. the pallet jaclçs rvould be irrvolved in a large number of

           incidents of loss of conbol andlor improper brating, a¡rd that inìuries        Éc¡   users ancl


          cônsumers sucb as DR[\/ER would oc.cur,

               j,        By continuing [o conceal fi-om consumers, (ÐnsuÍIer agencies, the Natjona]

          Consumer Product Safbty Comrnission,          ald   others, vital irrformaúon relative to the

          clange.rcus conctition of thd Subject PalletJack.

               k.       By failing to recall, refit, repair, or otherwise talçe rernedi¿l measures to

          pre\/ent the continued iujuries associated n ith the Suhject PalletJack's dangerous

          propensiiy* to lose control and/or improirèrly brake,

               I.       By failing to specifically and personaliy communicate to        DRI/ER       arrd other

          users of the Subject Pallet.Jack knor'r'ledge r¡'ithin the possession of     CRO\{N' CRO\4''N

          LII:|,    and other dealers relatir.e to the Subject PalletJack's dan¡çerous propensitl to lose

          co¡rtrol ancl/or im¡rroperly brake, notrvithstauding repeatecÌ opportunities to clo so when

          servicing tJre Subject Pallet Jack.

               m.       IArith the sPecific knowledge of the unreasonably dangerous condition of the

          Subject Pallet.Jack, by failing to,recall, retrofit, directly warn, or othenvise tahe any

          reasonable rneasures to reduce or eli¡ninate the risk of iqjury to         DRI\ÆR      associated   with

          operation of the Sulrject PalletJack.

               n.       \\¡ith thc specifrc knorvledge of the defective conclitior¡ of the Subject Pallet

          Jac\   by failirrg to suggest re¡:airs or modifications to DRI\/ER arrd/or Albertsons at the

          time of servicing the Sulrject PalletJack which, if such had      b<-:en   made, woulcl have

First Amended Comþlaint for Damages and Jury TrÍal Demanded
Cottle v. Crown Equipnrcnt CorporaÍìon, et al.     '


Page 11 of15
             reducecl ancllor   elimi'ated the risk of injuÐ' to DRTvER'

                  o.     By ec¡uipping, m.arlcetirrg, aucl selling an inJrerentll, unstable pallet jack

             without lrdequate safety measutes clesignecl      ùo   protect   ttset-s   such as DRI\{ÐR, knowing

        .    rhat in the. errent olloss of t:ontrol, irrjury to the user of thc Subject PalletJack was      a


             foreseeable a:rd probable ænse.quen ce.

                  p,     Other such acts   ar.rcl   omissions amountìng to rregligence as nlay be cliscoverecl

             and as will be sholvn at trial of this rnatter.

    24. THat the ¡egligcnt acts and omissions of Deferrd¿urts tvere pen,asive, and of such a character,

extent, and. continuing nature. so as to ainount to gross negligence, justifring an award of punitive

damages ir: this action.

    25. That as a result of the negligence aud gross negligence ofDefendants, DRñ¡ER sustained

injuries and clamages, for r,rrhich recovery is sought by this action.



                                      THrRD CAUSE OF ACTIOI.q
                                        Bn¡nC¡ OFWARR]TNTIES

    26. The allegatiorrs of Paragraphs 1 through 25 are iucorporated herein as if reprocluced in full'

    27. Defendants, thrcugh the sale of the Suìrject PalletJacþ and the failure to remedy such

clefects, have breached express ancl implied wlrr¿tnties of fitness       lor a partÍcular purpose arrd

merchantalrility with reE)ecL to the sale of the Subject PalletJack'

   28, Such warranties inclucle, but are n.ot limited to, the \4,41TântÌes set forth in U,C'A' $704-2-

313, 315, arrcl 318 anct $704.2a-210, 2I3, and 216. Atl such conditious precedent to errfbrcement                  of

First Amended Complaint for Damages and Jury Túal Denranded
Cottle v. Crov¡n Equipment Corporøtion, el al.
Page   i2 of 15
such warran[ies have beeu fulfìlled'

       2g. By   a¡d through De.fendants' breach olsuch warralties, DRI\ER has sustained damages,

alcl De.fe¡rdants are therefore liable to DRniER for all such clamages, inclucling consequential ancl

punitive danages.



                                  FOURTH CAUSIE 9.-F ACTION
                      Bn¡Rcn oF CoNTRqcr AND ToRTUous Bn¡ncg oF OoNTR.ncT

      30. The allegations of Paragraphs   I through   2g are incorporated herein by reference as if

reproduced in full.

      31. Prior to rhe date of the subject incideni, Albertsons,   DRI\GR's cinployer' had   entered into a


colrrr¿ct rvirh CRO!\ô{ LIFT zurd,/or one or nrore DOES, to service and repair the Subject Paliet

                                                                         B)' reason of said
Jack. DRI\/ER was an intende.d thírd party beneficiary of zuch conüacts.

contr-acùs,     CRO\,\T{ LIFT a.nd/or DOES undertook express and implied cont¡actual obligations

and duties, including the duty ro service the Subject PalletJack and sell a¡rd maintain the palletjack

with reasonable care and safety, to perlorm the contracls according to professional standards of

care, andl to perform the contracts in accordance with their cluty of good faith and fair dealing'

CROI,\¡N LIFT a¡d/or DOES breached said contracts by and through their acrs and omíssions              as


ser   forth herein. Specificaily, CROY,ri{ LIFT a:rd/or DOES failed to r,r'arn DRIVER of the

dangerous conclitions of the Subject PaltetJack, and failed to suggest or implement necessary repairs

or modifications to the Sub.iect PalletJack to reduce or elimirrate thc hrown clangerous condiiions,

Saicl breach of contraçt \^,as acc,ompanied by such negligence and gross negligence as to âmount to


Iirst Amended Cornplaint for Darnages and Jury Trial Demanded
Cott\e r. Crolr,n Equìpmenl Cot"poration, et al.
Page 13 of15
arr i¡depenrlent    tort.   Such brc.ach of cor-itract \^'âs accompaniecl by such negligence' gross

negligence, maliciousness, a.nd u.íilful ancl wairton conducl, and undertaken in conscious disregard

for the rights of DRt\,'Elt and others similarþ situated,        so a.s to u,zrrrallt the.irnposition o'f punítive


cìamages or:    Clì()14rli IJFT ancllor DOES'



                                               JI-iRY DEI\4AND

    32.   DRI\¡ER    requesLs   a.iury trial on all issues in this   case.




                                                 DAVIAGES
                                              nequEsl'FoR I{ELEF

    WHEREFORE, Plaintiffdemands judgment against all Defendauts, ir-rclividually, jointly,

and/or severall¡ for damages as follows:

    l.    For general and actual, or compeÍìsatory, damaçs in the amouut of Five Million Dolla¡s

($5,000,000.00) or such other reasonable surn to [:e determined at trial;

    2.    For special damages for lost earnings, both historical and future, additional domestic costs,

costs to mitigate problems      resultilg from iqjuries, costs fbr expenses ûrcurred        as a direct   and/or

proxirnate result of irluries, inciclertal losses, and consequential         losses and   ir{uries in t}re amourt of

Ten Million Dollars ($10,000,000.00) or such other reasonâble sum to be determined at h-ial;

    3.    For puuitive damages against all Defendauts in the sum of Twènty Million Dollars

($20,000,000.00) or in an amount suflicient to punish or deter them anc{ others from similar.f¡pes                   of

behavior;


First Arnended Complaint fbr Damages and Jury Trial Demanded
Cottle t). Crown EquQtment Corporatíon, et al.
Page 14   of   15
    +.      For Plaintiffs costs and reasonable attorneys fees incurred herein;

    5. Pre.judgment irrterest calculated frc¡m the date of this demancl     until paid;

    6.      Plaintiffreserves his right tùroughout these proceedings and at trial to inc¡'ease his dama.qe

demancl ancl/or a¡nencl his Complaìt¡t to c,onform to the evidence;

    7   .   For other such ancl further relief both legal and equitable, as the Court deerns just and

ProPer,

            Rcspectfully submitied,

                                                                           Datecl;.fanu
                                                                                          ^rvfuL     "zott.


                                                                          COTTLE GARRETT
                                                                         h4ARCA T.{NNER
                                                                            GARRETT IAW, PLLC
                                                                                 Plaìrtif
                                                                          Aaornqtsfor




First Amended Complaint for Ðamages afld Jury Trial Demanded
Conle v. Crou¡n Eguípmenl Corporation, el ø1,
Page 15 of     15
